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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In Re:

Contempo Florida Holidays Limited, Inc.              Case No.: 8:19-bk-11518-MGW
                                                     Chapter 7 Case
      Debtors.
________________________________/

Douglas N. Menchise, Chapter 7 Trustee
      Plaintiff,

v.                                                   Adv. Pro. No.: 8:20-ap-_____________

Virgin Holidays Limited, a London Limited
Partnership d/b/a Virgin Holidays,
       Defendants.
_________________________________/

                                          COMPLAINT

           Douglas N. Menchise, as Chapter 7 Trustee (the “Trustee”), by and through the

undersigned counsel, hereby files this Complaint against Virgin Holidays Limited, a London

Limited Partnership d/b/a Virgin Holidays (“Virgin”), and states as follows:



     I.         NATURE OF ACTION

           1.     This is an adversary proceeding seeking damages for breach of contract, account

stated, avoidance of fraudulent transfers and liability of transferee of an avoided transfer all

against Virgin.



     II.        JURISDICTION AND VENUE

           2.     This is an adversary proceeding brought pursuant to Rule 7001 of the Federal

Rules of Bankruptcy Procedure (“Bankruptcy Rules”), §§ 105, 541, 544, 548, and 550 of the



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Bankruptcy Code, seeking damages and other relief related to the Debtor, Contempo Florida

Holiday Limited, Inc.’s property.

          3.      This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

§§ 157(b) and 1334(b).

          4.      Venue is proper in this district pursuant to 28 U.S.C. § 1409(a).

          5.      This adversary proceeding relates to the chapter 7 case of Contempo Florida

Holidays Limited, Inc., Case No. 8:19-bk-11518-MGW.

          6.      This matter is a “core” proceeding within the meaning of 28 U.S.C. § 157(b) and

the Court may enter final orders for the matters contained herein.

          7.      To the extent that any claim asserted herein constitutes a non-core proceeding

and/or if this Court lacks constitutional authority to enter a final judgment on any claim asserted

herein, the Trustee hereby consents to the entry of final orders and judgment by the Bankruptcy

Court pursuant to Bankruptcy Rule 7008.



   III.         THE PARTIES

          8.      Defendant Virgin Holidays Limited, a London Limited Partnership d/b/a Virgin

Holidays is based in the United Kingdom, but operated in Florida in connection with Contempo

Florida Holidays Limited, Inc.’s (“Contempo” or “Debtor”) business.

          9.      At all relevant times hereto, Virgin was doing business in the state of Florida.

          10.     Virgin also negotiated and executed the subject contracts with Contempo in

Florida.

          11.     Contempo is a Florida corporation whose principal place of business is in

Davenport, Florida.




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       IV.         FACTUAL BACKGROUND

             12.     Contempo operated a vacation-home rental agency offering various services to

facilitate guest accommodations and travel stays in and around Florida.

             13.     Having built an expertise in guest and travel accommodations, Contempo entered

into discussions with Virgin to assist Virgin with managing its customers’ travel stays in Florida

and providing those customers vacation rentals in Florida.

             14.     Thereafter, Virgin entered a series of agreements with Contempo through which

Contempo assisted Virgin by providing accommodations for and services to Virgins’ customers.

             15.     Specifically, Virgin and Contempo executed an agreement entitled Orlando Select

Villas by Contempo on February 8, 2019, in Florida (the “Contract”). The Contract had an

effective period from January 1, 2019 through December 31, 2020. A true and correct copy of

the executed Contract is attached hereto as Exhibit “A”.

             16.     The Contract provided that Contempo would make a number of three to seven-

bedroom properties available to Virgins’ Customers in exchange for a specified rate per night for

occupation and use. Contempo provided Virgin accommodations and services in accord with the

reservation details Virgin transmitted to Contempo for each of Virgin’s customers.

             17.     Additionally, the Contract contained a rate table covering various other fees for

services and amenities, and specifying their costs, such as pool heating, highchairs, baby cots, or

other items enumerated the fee and billing structure.

             18.     The Contract further provided that “Standard payment terms [were] 30 days”

from “receipt of invoice,” except for enumerated periods when that payment term was shortened

to fourteen (14) days.1



1
    See Exhibit A, p. 7, p. 9, Section 5.4.


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       19.       Contempo would invoice Virgin directly for each reservation Virgin’s customers

booked at any of Contempo’s locations, less a three percent (3%) revenue over-ride.

       20.       Pursuant to the Contract, Contempo continued to accommodate various customers

of Virgin at Contempo’s properties. These customers also received various services such as food

items, housekeeping services, and other rentals, such as barbecue grills—which were to be paid

for by Virgin.

       21.       Notwithstanding, and beginning in August, 2019, Virgin began failing to remit

payment for such invoices directed and sent to Virgin.

       22.       Specifically, Contempo sent monthly invoices to Virgin requesting payment from

it for services provided by Contempo to Virgin’s customers, and contemplated in the parties’

Contract, including but not limited to, food, equipment rentals, and cleaning services

(collectively the “Contractual Services”), none of which were paid, to include:

             a. An invoice for Contractual Services provided to Virgin’s customers in July, 2019

                 for $4,935.66. A true and correct copy of this invoice is attached hereto as

                 Exhibit “B”;

             b. An invoice for Contractual Services provided to Virgin’s customers in August,

                 2019 for $4,421.12. A true and correct copy of this invoice is attached hereto as

                 Exhibit “C”;

             c. An invoice for Contractual Services provided to Virgin’s customers in October,

                 2019 for $20,932.90. A true and correct copy of this invoice is attached hereto as

                 Exhibit “D”;




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             d. An invoice for Contractual Services provided to Virgin’s customers in November,

                2019 for $2,532.00. A true and correct copy of this invoice is attached hereto as

                Exhibit “E”.

       23.      Those invoices submitted to Virgin and related to the Contractual Services, all of

which remain unpaid, total $32,821.68.

       24.      Additionally, Contempo sent $829,479.30 in invoices to Virgin requesting

payment for those travel accommodations and other housing rentals Virgins’ customers utilized

during their vacation stays between August 31, 2019 and December 31, 2019—as contemplated

by the parties’ Contract (the “Accounts Receivable,” or together with the $32,821.68 billed for

Contractual Services, the “Property”). None of these invoices were paid by Virgin.

       25.      As a result, Virgin is indebted to Contempo in at least the sum of $862,300.98,

along with interest, costs and legal fees.

       26.      On December 5, 2019, Contempo filed its voluntary petition for relief under

Chapter 7 of Title 11of the United States Bankruptcy Code.




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    V.         CLAIMS FOR RELIEF

                             COUNT I – BREACH OF CONTRACT

         27.      The Trustee re-alleges and incorporates by reference paragraphs 1 through 26 of

this Complaint as if fully set forth herein.

         28.      This is an action for breach of contract against Virgin.

         29.      Upon commencement of this bankruptcy case, and on the Petition Date, all legal

and equitable interests of Contempo, including the Contract and all right arising thereunder,

became property of the estate pursuant to 11 U.S.C. § 541(a)(1).

         30.      Accordingly, the Trustee is entitled to pursue such causes of action against Virgin

on behalf of and for the benefit of Contempo.

         31.      Contempo’s Contract with Virgin required that payment for all accommodations

or other services rendered by Contempo, including Contractual Services, are due within thirty

(30) days of receipt of any invoice, or within a shorter fourteen (14) days if occurring during a

specified term in the Contract.

         32.      Throughout July, August, October, November, and December 2019, Contempo

furnished and sent various invoices to Virgin for Contractual Services rendered and other

accommodations provided to Virgins’ customers.

         33.      Virgin failed to object to the amounts due under the invoices or to the invoices’

validity.

         34.      Notwithstanding, and in contravention of the Contract, Virgin failed to remit

payment on any of the invoices for Contractual Services or Virgin’s customers other housing

accommodations, all of which totaled at least the sum of $862,300.98, along with interest, costs

and legal fees.




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       35.     Virgin’s lack of payment constituted a material breach of the Contract.

       36.     Contempo was harmed by this breach, which resulted in Contempo possessing

unreasonably small capital to continue its business operations and pay its creditors, and

ultimately precipitated Contempo’s bankruptcy filing.

       37.     To date, Virgin failed to remit payment on these various invoices in contravention

of the Contract.

       WHEREFORE, the Trustee respectfully requests the Court to award damages to

Contempo and against Virgin in an appropriate amount, along with interest, costs and legal fees

and for such other relief as is just and necessary.



                               COUNT II – ACCOUNT STATED

       38.     The Trustee re-alleges and incorporates by reference paragraphs 1 through 26 of

this Complaint as if fully set forth herein.

       39.     This is an action for account stated against Virgin.

       40.     Upon commencement of this bankruptcy case, and on the Petition Date, all legal

and equitable interests of Contempo, including the Contract and all right arising thereunder,

became property of the estate pursuant to 11 U.S.C. § 541(a)(1).

       41.     Accordingly, the Trustee is entitled to pursue such causes of action against Virgin

on behalf of and for the benefit of Contempo.

       42.     Contempo’s Contract with Virgin required that payment for all accommodations

or other services rendered by Contempo, including Contractual Services, are due within thirty

(30) days of receipt of any invoice, or within a shorter fourteen (14) days if occurring during a

specified term in the Contract.




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        43.       Throughout July, August, October, November, and December 2019, Contempo

furnished and sent various invoices to Virgin for Contractual Services rendered and other

accommodations provided to Virgins’ customers.

        44.       Virgin failed to object to the amounts due as invoiced or to object to the invoices’

validity.

        45.       Nonetheless, Virgin has failed to remit payment on these invoices.

        46.       Virgin owes Contempo at least the sum of $862,300.98, along with interest, costs

and legal fees.

        WHEREFORE, the Trustee respectfully requests the Court to award damages to

Contempo and against Virgin in an appropriate amount, along with interest, and for such other

relief as is just and necessary.



                                   COUNT III – ACCOUNTING

        47.       The Trustee re-alleges and incorporates by reference paragraphs 1 through 26 of

this Complaint as if fully set forth herein.

        48.       In order to quantify the amount of assets and funds possessed by third parties,

fraudulently conveyed or converted, an accounting is needed of: (i) all transfers of assets and

funds from Virgin to the Debtor or any third party and (ii) all revenue generated and expenses

incurred by Virgin from the Petition Date to the present date, as well as any additional

appreciation, interest, profits, and other enhancements resulting therefrom.

        49.       Complete information regarding the transfers, income, and expenses is within the

possession, custody, and control of Virgin.




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        50.     These issues involve complicated and extensive accounts previously withheld

from the Trustee and it is not clear that the remedy at law would be as full, adequate, and

expeditious as it is in equity.

        51.     The Trustee lacks an adequate remedy at law.

        52.     As such, the Defendants must account to the Trustee for all property comprising

Contempo in the custodial possession of the Virgin.

        WHEREFORE, the Trustee respectfully requests the Court to order either an equitable

or statutory accounting from the Debtor, Virgin, and all other entities they own, operate, or

control concerning the Debtor’s account receivables and other business transactions with Virgin

and providing such other and further relief as the Court may deem just and proper.



      COUNT IV – AVOIDANCE OF FRAUDULENT TRANSFER PER § 548(a)(B)

        53.     The Trustee re-alleges and incorporates by reference paragraphs 1 through 26 of

this Complaint as if fully set forth herein.

        54.     This is an action for avoidance of a fraudulent transfer against Virgin pursuant to

Section 544 and 548 of the Bankruptcy Code.

        55.     Contempo transferred the use and enjoyment of its housing and other properties to

Virgin’s customers on multiple occasions between August 31, 2019 and December 31, 2019 (the

“Contempo Transfers”).

        56.     The Contempo Transfers were a transfer of an asset or property of the Debtor

within the meaning of § 544(b)(1) of the Bankruptcy Code.

        57.     The Contempo Transfers constitute avoidable fraudulent transfers because they:




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             a. were a transfer of an interest of the Debtor in property, namely the use and

                enjoyment of the Debtor’s property;

             b. occurred on dates throughout August 31, 2019 and December 31, 2019, all of

                which are within four (4) years of the Petition Date, and;

             c. were all transfers for which the Debtor received less than reasonable equivalent

                value in exchange—as Contempo received no payments and no other value in

                exchange.

       58.      Further the Contempo Transfers were made at a time when Contempo was

insolvent or, at the very least, resulted in Contempo’s insolvency.

       59.      Specifically, the Contempo Transfers occurred despite Virgin’s continuing non-

payment resulting in Contempo possessing unreasonably small capital to continue its business

operations and ultimately precipitated Contempo’s bankruptcy filing.

       60.      Even without this, and at the very least, Contempo was rendered insolvent by the

Contempo Transfers because no equivalent value (much less no reasonably equivalent value) in

exchange was provided by Virgin.

       61.      As set forth in the foregoing paragraphs, the Contempo Transfers were fraudulent

transfers under § 548(a)(B), and is therefore avoidable pursuant to § 544 of the Bankruptcy Code

and recoverable from Virgin.

       WHEREFORE, the Trustee respectfully requests the Court to avoid those Contempo

Transfers made by Contempo to Virgin, and for such other relief as is just and necessary




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          COUNT V – RECOVERY OF AVOIDED TRANSFERS PER §550(A)(1)

       62.      The Trustee re-alleges and incorporates by reference paragraphs 1 through 26 of

this Complaint as if fully set forth herein.

       63.      The Trustee specifically incorporates the allegations contained in Counts IV,

which establish that the Contempo Transfers are avoidable pursuant to the Bankruptcy Code.

       64.      This is an action to recover the Contempo Transfers, or their value, pursuant to 11

U.S.C. § 550(a).

       65.      To the extent the Contempo Transfers are avoided as requested herein, § 550

entitles the Trustee to recover the fraudulently-transferred property, or its value, from the

immediate transferee or the entity for whose benefit such transfer was made, or from any

immediate or mediate transferee.

       66.      The Contempo Transfers are avoidable transfers that may be recovered for the

benefit of the Debtor’s Estate.

       67.      As alleged herein, Virgin is an entity for whose benefit the Contempo Transfers

were made, and such transfers made to them are avoidable pursuant to §§ 544 and 548.

       68.      Virgin was the initial or mediate transferee of the Contempo Transfers, and such

transfers were to or for Virgin’s benefit.

       69.      As Contempo owed nothing to Virgin, Virgin did not utilize the Contempo

Transfers for value to satisfy or secure a present or antecedent debt.

       70.      Accordingly, 11 U.S.C. § 550(a) allows the Trustee to recover the Contempo

Transfers or their value from Virgin, plus interest thereon to the date of payment and the costs

and legal fees of this action, for the benefit of the Debtor’s Estate.




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       WHEREFORE, the Trustee respectfully requests the Court to award damages to

Contempo and against Virgin in an appropriate amount, along with interest, and for such other

relief as is just and necessary

                                          Respectfully submitted,

                                          SHUMAKER, LOOP & KENDRICK, LLP

                                          BY: _/s/ Steven M. Berman________________
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                                            Counsel for Trustee Douglas M. Menchise,
                                            Ch. 7 Trustee




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             Exhibit A
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                                   Orlando Select Villas by Contempo (Superior 738                                  Date            08 Feb 19
                                   Contract: FL/738/01.2019/00 Ver 3 P                                              Period          01 Jan 19 - 31 Dec 20
                                   Samantha Longster                                                                Currency        USD
                                   Contempo Plaza, 43344 Hwy. 27,                                                   Total Units     0
                                   Davenport, Florida , 33837.                                                      Tax Status      Rates Inclusive of Tax
                                   Tel:           2226 Fax:       9564                                              Arrival Days    Mon, Tue, Wed, Thu, Fri, Sat, Sun
                                   Email:
                                                                                                                    Companies       Travel City Direct, Virgin Holidays
                                   Website: www.contempoVacationHomes.com
                                   It is hereby agreed that the hotelier will put the following accommodation and services at the operator's
                                   disposal in accordance with the terms and conditions of this agreement.



           Company Holding Name
           For the purpose of this contract the "Hotelier" means Contempo Vacation Homes trading as Select Orlando Area Homes



           Units                                                   Occupancy          Adult        Child                                                    Child Ages
            Unit # Room Description             Meal Basis       Min Std Max Min Max Min Max                                   Infants                          1st
               1     Three Bedroom House        Self Catering     1     6     6      1     6      0     5    Infants Allowed Over Max Occupancy                2 - 16
               2     Four Bedroom House         Self Catering     1     8     8      1     8      0     7    Infants Allowed Over Max Occupancy                2 - 16
               3     Five Bedroom House         Self Catering     1    10     10     1     10     0     9    Infants Allowed Over Max Occupancy                2 - 16
               4     Six Bedroom House          Self Catering     1    12     12     1     12     0    11    Infants Allowed Over Max Occupancy                2 - 16
               5     Seven Bedroom House        Self Catering     1    12     14     1     14     0    13    Infants Allowed Over Max Occupancy                2 - 16
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           Rates
                                Unit                         Start Date               End Date          Unit pn
          1. Three Bedroom                                    01 Jan 19               05 Jan 19         149.48
          House                                               06 Jan 19               10 Feb 19          94.85
                                                              11 Feb 19               21 Mar 19         105.15
                                                              22 Mar 19               04 Apr 19         139.18
                                                              05 Apr 19               28 Apr 19         149.48
                                                              29 Apr 19               30 Jun 19          94.85
                                                              01 Jul 19               04 Sep 19         139.18
                                                              05 Sep 19               13 Oct 19          94.85
                                                              14 Oct 19               31 Oct 19         139.18
                                                              01 Nov 19               18 Dec 19          94.85
                                                              19 Dec 19               05 Jan 20         149.48
                                                              06 Jan 20               10 Feb 20          94.85
                                                              11 Feb 20               12 Mar 20         105.15
                                                              13 Mar 20               26 Mar 20         139.18
                                                              27 Mar 20               18 Apr 20         149.48
                                                              19 Apr 20               30 Jun 20         105.15
                                                              01 Jul 20               04 Sep 20         139.18
                                                              05 Sep 20               13 Oct 20          94.85
                                                              14 Oct 20               31 Oct 20         139.18
                                                              01 Nov 20               18 Dec 20          94.85
                                                              19 Dec 20               31 Dec 20         149.48
                                Unit                         Start Date               End Date          Unit pn
          2. Four Bedroom                                     01 Jan 19               05 Jan 19         156.70
          House                                               06 Jan 19               10 Feb 19         101.03
                                                              11 Feb 19               21 Mar 19         113.40
                                                              22 Mar 19               04 Apr 19         149.48
                                                              05 Apr 19               28 Apr 19         156.70
                                                              29 Apr 19               30 Jun 19         101.03
                                                              01 Jul 19               04 Sep 19         149.48
                                                              05 Sep 19               13 Oct 19         101.03
                                                              14 Oct 19               31 Oct 19         149.48
                                                              01 Nov 19               18 Dec 19         101.03
                                                              19 Dec 19               05 Jan 20         156.70
                                                              06 Jan 20               10 Feb 20         101.03
                                                              11 Feb 20               12 Mar 20         113.40
                                                              13 Mar 20               26 Mar 20         149.48
                                                              27 Mar 20               18 Apr 20         156.70
                                                              19 Apr 20               30 Jun 20         113.40
                                                              01 Jul 20               04 Sep 20         149.48
                                                              05 Sep 20               13 Oct 20         101.03
                                                              14 Oct 20               31 Oct 20         149.48
                                                              01 Nov 20               18 Dec 20         101.03
                                                              19 Dec 20               31 Dec 20         156.70
                                Unit                         Start Date               End Date          Unit pn
          3. Five Bedroom                                     01 Jan 19               05 Jan 19         172.16
          House                                               06 Jan 19               10 Feb 19         113.40
                                                              11 Feb 19               21 Mar 19         129.90
                                                              22 Mar 19               04 Apr 19         164.95
                                                              05 Apr 19               28 Apr 19         172.16
                                                              29 Apr 19               30 Jun 19         129.90
                                                              01 Jul 19               04 Sep 19         164.95
                                                              05 Sep 19               13 Oct 19         113.40
                                                              14 Oct 19               31 Oct 19         164.95
                                                              01 Nov 19               18 Dec 19         113.40
                                                              19 Dec 19               05 Jan 20         172.16
                                                              06 Jan 20               10 Feb 20         113.40
                                                              11 Feb 20               12 Mar 20         129.90
                                                              13 Mar 20               26 Mar 20         164.95
                                                              27 Mar 20               18 Apr 20         172.16
                                                              19 Apr 20               30 Jun 20         129.90
                                                              01 Jul 20               04 Sep 20         164.95
                                                              05 Sep 20               13 Oct 20         113.40
                                                              14 Oct 20               31 Oct 20         164.95
                                                              01 Nov 20               18 Dec 20         113.40
                                                              19 Dec 20               31 Dec 20         172.16
                                Unit                         Start Date               End Date          Unit pn
          4. Six Bedroom                                      01 Jan 19               05 Jan 19         236.08
          House                                               06 Jan 19               10 Feb 19         170.10
                                                              11 Feb 19               21 Mar 19         170.10
                                                              22 Mar 19               04 Apr 19         224.74
                                                              05 Apr 19               28 Apr 19         236.08
                                                              29 Apr 19               30 Jun 19         170.10
                                                              01 Jul 19               04 Sep 19         224.74
                                                              05 Sep 19               13 Oct 19         170.10
                                                              14 Oct 19               31 Oct 19         224.74
                                                              01 Nov 19               18 Dec 19         170.10
                                                              19 Dec 19               05 Jan 20         236.08
                                                              06 Jan 20               10 Feb 20         170.10
                                                              11 Feb 20               12 Mar 20         170.10
                                                              13 Mar 20               26 Mar 20         224.74
                                                              27 Mar 20               18 Apr 20         236.08
                                                              19 Apr 20               30 Jun 20         170.10
                                                              01 Jul 20               04 Sep 20         224.74
                                                              05 Sep 20               13 Oct 20         170.10
                                                              14 Oct 20               31 Oct 20         224.74
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                                                                    01 Nov 20                     18 Dec 20                      170.10
                                                                    19 Dec 20                     31 Dec 20                      236.08
                                   Unit                            Start Date                     End Date                       Unit pn
          5. Seven Bedroom                                          01 Jan 19                     05 Jan 19                      319.59
          House                                                     06 Jan 19                     10 Feb 19                      226.80
                                                                    11 Feb 19                     21 Mar 19                      226.80
                                                                    22 Mar 19                     04 Apr 19                      308.25
                                                                    05 Apr 19                     28 Apr 19                      319.59
                                                                    29 Apr 19                     30 Jun 19                      226.80
                                                                    01 Jul 19                     04 Sep 19                      308.25
                                                                    05 Sep 19                     13 Oct 19                      226.80
                                                                    14 Oct 19                     31 Oct 19                      308.25
                                                                    01 Nov 19                     18 Dec 19                      226.80
                                                                    19 Dec 19                     05 Jan 20                      319.59
                                                                    06 Jan 20                     10 Feb 20                      226.80
                                                                    11 Feb 20                     12 Mar 20                      226.80
                                                                    13 Mar 20                     26 Mar 20                      308.25
                                                                    27 Mar 20                     18 Apr 20                      319.59
                                                                    19 Apr 20                     30 Jun 20                      226.80
                                                                    01 Jul 20                     04 Sep 20                      308.25
                                                                    05 Sep 20                     13 Oct 20                      226.80
                                                                    14 Oct 20                     31 Oct 20                      308.25
                                                                    01 Nov 20                     18 Dec 20                      226.80
                                                                    19 Dec 20                     31 Dec 20                      319.59
           Key:    Unit pn = Unit Per Night




                                Virgin..........................                        Hotelier..............................
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           Supplements
            Unit #    Description                       Pricing Type            W\E Sup Length                Num Pax       Hol Length          Start Date               End Date          Value
              All     Pool Heating (pupw)               Optional                                 All          All           All                    01 Jan 19               30 Apr 19         245.00
                                                        Optional                                                                                   01 Nov 19               30 Apr 20         245.00
                                                        Optional                                                                                   01 Nov 20              31 Dec 20          245.00
                      Baby Cot (Crib) (pupw)            Optional                                 All          All           All                    01 Jan 19              31 Dec 20          48.00
                      Highchair (pupw)                  Optional                                 All          All           All                    01 Jan 19              31 Dec 20          48.00
           Notes:     1. Pool heat can be pre-booked from November to April @ $35 per day, min of 7 nights.



           Min Max Stay                                                                                                           Close Out
            Unit #     Start Date       End Date                         Min                           Max                        Unit #                 Start Date                    End Date
              All       01 Jan 19       31 Dec 20                                       7
                                                                                                                                    All                   01 Jan 20                    31 Dec 20




           Facilities
           Unit #      Air      Bab          Bat         Bed            FRI       HAI          Hea           Iro      Kit         Mic        Pri         Roo          Ser        Sho    TV         Tow
             All

           Key:      Air = Air conditioning, Bab = Baby Cot/Crib, Bat = Bath, Bed = Bedlinen Change, FRI = Fridge, HAI = Hairdryer, Hea = Heating,
                     Iro = Iron & Ironing Board, Kit = Kitchen (ette), Mic = Microwave, Pri = Private bathroom, Roo = Room Cleaning, Ser = Service & Housekeeping,
                     Sho = Shower, TV = TV, Tow = Towel Change
                       = $48 per week payable locally ,                = On arrival ,       = On arrival ,      = On arrival ,    = On arrival




                                    Virgin..........................                                                                    Hotelier..............................
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           Allocation & Release                 Allocation   Release
            Unit #   Start Date   End Date    VHOLS On Req Units Days
              1      01 Jan 19    05 Jan 19    35      No    All   21
                     06 Jan 19    10 Feb 19    35      No    All   14
                     11 Feb 19    21 Mar 19    35      No    All   14
                     22 Mar 19    04 Apr 19    35      No    All   21
                     05 Apr 19    28 Apr 19    35      No    All   21
                     29 Apr 19    30 Jun 19    35      No    All   14
                      01 Jul 19   04 Sep 19    35      No    All   21
                     05 Sep 19    13 Oct 19    35      No    All   14
                     14 Oct 19    31 Oct 19    35      No    All   21
                     01 Nov 19    18 Dec 19    35      No    All   14
                     19 Dec 19    05 Jan 20    35      No    All   21
                     06 Jan 20    10 Feb 20    35      No    All   14
                     11 Feb 20    12 Mar 20    35      No    All   14
                     13 Mar 20    26 Mar 20    35      No    All   21
                     27 Mar 20    18 Apr 20    35      No    All   21
                     19 Apr 20    30 Jun 20    35      No    All   14
                      01 Jul 20   04 Sep 20    35      No    All   21
                     05 Sep 20    13 Oct 20    35      No    All   14
                     14 Oct 20    31 Oct 20    35      No    All   214
                     01 Nov 20    18 Dec 20    35      No    All   14
                     19 Dec 20    31 Dec 20    35      No    All   21
              2      01 Jan 19    05 Jan 19    75      No    All   21
                     06 Jan 19    10 Feb 19    75      No    All   14
                     11 Feb 19    21 Mar 19    75      No    All   14
                     22 Mar 19    04 Apr 19    75      No    All   21
                     05 Apr 19    28 Apr 19    75      No    All   21
                     29 Apr 19    30 Jun 19    75      No    All   14
                      01 Jul 19   04 Sep 19    75      No    All   21
                     05 Sep 19    13 Oct 19    75      No    All   14
                     14 Oct 19    31 Oct 19    75      No    All   21
                     01 Nov 19    18 Dec 19    75      No    All   14
                     19 Dec 19    05 Jan 20    75      No    All   21
                     06 Jan 20    10 Feb 20    75      No    All   14
                     11 Feb 20    12 Mar 20    75      No    All   14
                     13 Mar 20    26 Mar 20    75      No    All   21
                     27 Mar 20    18 Apr 20    75      No    All   21
                     19 Apr 20    30 Jun 20    75      No    All   14
                      01 Jul 20   04 Sep 20    75      No    All   21
                     05 Sep 20    13 Oct 20    75      No    All   14
                     14 Oct 20    31 Oct 20    75      No    All   21
                     01 Nov 20    18 Dec 20    75      No    All   14
                     19 Dec 20    31 Dec 20    75      No    All   21
              3      01 Jan 19    05 Jan 19    30      No    All   21
                     06 Jan 19    10 Feb 19    30      No    All   14
                     11 Feb 19    21 Mar 19    30      No    All   14
                     22 Mar 19    04 Apr 19    30      No    All   21
                     05 Apr 19    28 Apr 19    30      No    All   21
                     29 Apr 19    30 Jun 19    30      No    All   14
                      01 Jul 19   04 Sep 19    30      No    All   21
                     05 Sep 19    13 Oct 19    30      No    All   14
                     14 Oct 19    31 Oct 19    30      No    All   21
                     01 Nov 19    18 Dec 19    30      No    All   14
                     19 Dec 19    05 Jan 20    30      No    All   21
                     06 Jan 20    10 Feb 20    30      No    All   14
                     11 Feb 20    12 Mar 20    30      No    All   14
                     13 Mar 20    26 Mar 20    30      No    All   21
                     27 Mar 20    18 Apr 20    30      No    All   21
                     19 Apr 20    30 Jun 20    30      No    All   14
                      01 Jul 20   04 Sep 20    30      No    All   21
                     05 Sep 20    13 Oct 20    30      No    All   14
                     14 Oct 20    31 Oct 20    30      No    All   21
                     01 Nov 20    18 Dec 20    30      No    All   14
                     19 Dec 20    31 Dec 20    30      No    All   21
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              4       01 Jan 19     05 Jan 19   4   No   All   21
                      06 Jan 19     10 Feb 19   4   No   All   14
                      11 Feb 19     21 Mar 19   4   No   All   14
                      22 Mar 19     04 Apr 19   4   No   All   21
                      05 Apr 19     28 Apr 19   4   No   All   21
                      29 Apr 19     30 Jun 19   4   No   All   14
                      01 Jul 19     04 Sep 19   4   No   All   21
                      05 Sep 19     13 Oct 19   4   No   All   14
                      14 Oct 19     31 Oct 19   4   No   All   21
                      01 Nov 19     18 Dec 19   4   No   All   14
                      19 Dec 19     05 Jan 20   4   No   All   21
                      06 Jan 20     10 Feb 20   4   No   All   14
                      11 Feb 20     12 Mar 20   4   No   All   14
                      13 Mar 20     26 Mar 20   4   No   All   21
                      27 Mar 20     18 Apr 20   4   No   All   21
                      19 Apr 20     30 Jun 20   4   No   All   14
                      01 Jul 20     04 Sep 20   4   No   All   21
                      05 Sep 20     13 Oct 20   4   No   All   14
                      14 Oct 20     31 Oct 20   4   No   All   21
                      01 Nov 20     18 Dec 20   4   No   All   14
                      19 Dec 20     31 Dec 20   4   No   All   21
              5       01 Jan 19     05 Jan 19   1   No   All   21
                      06 Jan 19     10 Feb 19   1   No   All   14
                      11 Feb 19     21 Mar 19   1   No   All   14
                      22 Mar 19     04 Apr 19   1   No   All   21
                      05 Apr 19     28 Apr 19   1   No   All   21
                      29 Apr 19     30 Jun 19   1   No   All   14
                      01 Jul 19     04 Sep 19   1   No   All   21
                      05 Sep 19     13 Oct 19   1   No   All   14
                      14 Oct 19     31 Oct 19   1   No   All   21
                      01 Nov 19     18 Dec 19   1   No   All   14
                      19 Dec 19     05 Jan 20   1   No   All   21
                      06 Jan 20     10 Feb 20   1   No   All   14
                      11 Feb 20     12 Mar 20   1   No   All   14
                      13 Mar 20     26 Mar 20   1   No   All   21
                      27 Mar 20     18 Apr 20   1   No   All   21
                      19 Apr 20     30 Jun 20   1   No   All   14
                      01 Jul 20     04 Sep 20   1   No   All   21
                      05 Sep 20     13 Oct 20   1   No   All   14
                      14 Oct 20     31 Oct 20   1   No   All   21
                      01 Nov 20     18 Dec 20   1   No   All   14
                      19 Dec 20     31 Dec 20   1   No   All   21
           Release Type: Sell & Report
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           Payment
           Payment Method                                                                      Payment Process
           Transfer                                                                            Invoice
           Payment Terms
           30 days from receipt of invoice
           Notes:     1. Standard payment terms 30 days except during the following periods when it is 14 days:

                      01    Jan - 05 Jan 2019
                      22    Mar - 28 Apr 2019
                      01    Jul - 04 Sep 2019
                      14    Oct - 31 Oct 2019
                      19    Dec 2019 - 05 Jan 2020
                      13    Mar - 18 Apr 2020
                      01    Jul - 04 Sep 2020
                      14    Oct - 31 Oct 2020
                      19    Dec - 31 Dec 2020



           Extras
           Over Ride Agreement
           A 3% revenue over-ride has been agreed for the period 01 Jan 2019 to 31 Dec 2020. Contempo will invoice Virgin Holidays less 3% for each
           reservation.



           Contact Details
           Name                      Type               Department             Details
           ACCOUNTS PAYABLE          Accounts Payable   Finance                The VHQ Fleming Way, Crawley, West Sussex, RH10 9DF
                                                                               Fax:+          4247 Email:
           CONTRACT SERVICES1 Stop Sales & Blackou                             The VHQ Fleming Way, Crawley, West Sussex
                                                                               Email:
           James. Killick            Destination Manager Product & Commercial The VHQ Feleming way, Crawley, West Sussex, RH10 9DF
                                                                              Tel:+       84764 Email:



           Miscellaneous Notes
           1 Check in time is 4pm and check out is 10am.
           2 Security deposit/ Damage waiver - a non refundable ADW (accidental damage waiver) is payable on arrival which covers for any accidental
             damage up to a specified amount. A credit card is still required as security against any damage not covered under the waiver scheme. Should customers not
             wish to take this option, there is a $500 security charge on a major credit card, which is refunded within 7 days of departure once the property has been
             checked.
           3 Cancellations:
             No show or cancellation up to 7 days prior to arrival 100% of rental charge. During high and holiday season -
             01 Jan - 05 Jan 2019
             22 Mar - 28 Apr 2019
             01 Jul - 04 Sep 2019
             14 Oct - 31 Oct 2019
             19 Dec 2019 - 05 Jan 2020
             13 Mar - 18 Apr 2020
             01 Jul - 04 Sep 2020
             14 Oct - 31 Oct 2020
             19 Dec - 31 Dec 2020
             cancellations made within 21 days will be 25% of the rental charge.

           4 Reservations E-mail: reservations@contempogroup.com
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           The hotelier acknowledges that he/she has read and accepts the terms and conditions of this contract.
           The signatory for the hotelier confirms that he/she has the hoteliers authority to sign this agreement on the hoteliers behalf.
           For & Behalf of Virgin Holidays
           Name                                              Signature                                  Title                                Date
                  James Killick                                                                                            29-Apr-2019
                                                                                                         Destination Manager - Florida | 11:50:01 BST
           For & Behalf of above named hotelier
           Name                                              Signature                                  Title                                Date
                    Sam Longster                                                                                           24-May-2019 | 20:42:58 BST
                                                                                                         VP Business Development
DocuSign Envelope ID: 819A4E25-484F-4AF0-9177-375FC8158771
         Definitions
                                         Case 8:20-ap-00656-MGW                 Doc 1 Filed 12/15/20
                                                         have been properly and regularly serviced, must comply with national
                                                                                                                                                                  Page 22 of 35
                                                                                                                                                               proper performance of the terms of this Agreement, even after such
 "Accommodation” means the accommodation as may be allocated                     and local legislation, regulations and rules, be adequate to transport        change in control.
 and/or reserved to the Clients at a Hotel, Apartment, Villa or other            persons safely, and large enough to accommodate the number of                        Confidentiality and Data Protection
 lodging establishment covered in the Agreement.                                 passengers and their luggage. The passengers' luggage must be secured         11.1 The Hotelier shall keep all Confidential Information strictly
 "Brochures" means the holiday brochures, other written or sales                 properly. The drivers must be well presented, fully qualified,                confidential and will store it in a secure place and safeguard it in a
 material or information contained on a website published by or on               experienced, have not been convicted of any driving offence and have          manner no less secure than it safeguards its own confidential
 behalf of the Operator, its associated companies or its agents containing       full insurance for all risks. The Hotelier remains responsible for any sub-   information. The Hotelier will not make use of Confidential Information
 details of the Accommodation and/or Services together with any                  contracted transportation to any third-party.                                 for any purpose other than the performance of its obligations under this
 information provided by the Hotelier on to the Operator's Content               3.15 If any of the Clients have any claim or complaint in relation to the     Agreement. The Hotelier may not disclose Confidential Information to
 Management System (known as Red Squirrel)                                       Accommodation, Services or Hotel, the Hotelier shall promptly notify          any person other than its directors or employees (to the extent that
 "Clients” means customers or employees of the Operator utilising the            the Operator and will give all such assistance as the Operator requests       disclosure is necessary for the purposes of this Agreement). If disclosure
 Accommodation and/or the Services.                                              and provide copies of any reports investigating the incident or any other     is made, the Hotelier shall be responsible for any breaches by such
 "Confidential Information" means any confidential information or data           relevant information. Pursuant to the Indemnity provision under section       employees or directors of the confidentiality provisions contained
 (in whatever format) disclosed by the Operator, its associated                  8, the Hotelier agrees to be bound by the Client Complaints Protocol          herein.
 companies, agents or representatives (whether orally or in writing) to          which is provided under a separate addendum and which may be varied           11.2 The confidentiality restrictions contained in this clause shall not
 the Hotelier including (without limitation) information relating to its         from time to time by consent between the Operator and the Hotelier.           apply to information which is or becomes in the public domain (other
 business and Clients.                                                           3.16 Public areas, swimming pool area and swimming pool (if applicable)       than by breach of this clause), is required to be disclosed by law (but
 "Hotelier" means the owner of the Accommodation, any natural or legal           will be cleaned daily.                                                        only to the extent and purposes of such required disclosure), is required
 person responsible for managing or representing the Accommodation               3.17 Rates within the Agreement are no higher, and its terms of trading       to be disclosed by court order (provided the Hotelier uses its best
 and the signatory on behalf of the Hotelier overleaf, or any one or more        with the Operator no less advantageous to the Operator, than those            endeavours to notify the Operator in advance of such disclosure), or is
 of them.                                                                        agreed between Hotelier and any other operator.                               authorised by release or use by the Operator in writing.
 "Operator” means Virgin Holidays Limited Company number 01873815                3.18 Any repair or replacement of any facility, amenity, fixture or fitting   11.3 Confidential Information, including permitted copies, will be
 "Operator's Representatives" means any representative designated by             In the Client's Accommodation will be carried out within 23 hours of          deemed the property of the Operator. The Hotelier will, within 20 days
 the Operator from time to time.                                                 being reported by the Client. The Hotelier shall indemnify the Operator       of a written request by the Operator, destroy or return all Confidential
 "Services" means all amenities, facilities, catering and other services         in full for any losses, expenses or costs incurred by it (including without   Information, including copies thereof, to the Operator.
 offered by the Hotelier, whether or not detailed within the Agreement.          limitation payment of compensation to the Clients) by reason of the           11.4 To the extent that personal data is transferred under this
         Reservations                                                            Hotelier’s breach of this clause or the withdrawal of any contracted          Agreement from inside the UK and / or the European Economic Area
 2.1 The Operator will advise the Hotelier of the Accommodation and/or           facility.                                                                     (“EEA”) to outside the UK and / or the EEA, as applicable at the time of
 Services required prior to the release periods specified overleaf by fax        3.19 The Hotelier shall grant the Operator rights to sell excursions, car     any such transfer, the Parties agree to be bound by a separate Data
 or email transmission or any other means. The Operator shall have no            hire and other services to the Clients at the Hotel and shall allocate the    Protection Addendum, as supplied by the Operator, for the purpose of
 liability if any Accommodation/Service allocated to it that is not required     Operator a point of sale in a suitably prominent and easily accessible        making such transfers of personal data lawful.
 and the same shall be automatically released back to the Hotelier.              position in the Hotel.                                                               Trademark
 2.2 After the Operator has notified the Hotelier pursuant to clause 2.1,                Rates                                                                 The Hotelier shall not use, display or publish any trademark of the
 but any time prior to the actual scheduled arrival time, the Operator           4.1 The rates and terms of this Agreement apply to all reservations,          Operator or any of its associated or subsidiary companies without first
 may (at its absolute discretion): (a) cancel any such Accommodation             including (without limitation) group or individual bookings, reservations     obtaining the prior written consent of the Operator (which may be
 and/or Services without any liability to the Hotelier; or (b) reserve the       in excess of the allocation initially contacted and reservations made         withheld in its absolute discretion).
 Accommodation and/or Services to other Clients, provided it advises the         after the expiry of the release period.                                              Notices
 Hotelier accordingly.                                                           4.2 The rates may not be increased by the Hotelier for any reason during      13.1 Any notice required to be given under this Agreement will be sent
         Obligations                                                             this Agreement (unless the Operator agrees in writing).                       by fax or by airmail post to the fax number and address shown for each
 3.1 The Hotelier shall provide the Accommodation and the Services               4.3 The rates are fully inclusive including (without limitation) all local    party overleaf or to such other number or address as notified by either
 strictly in accordance with the reservation transmitted by the Operator         and national taxes, service charges and gratuities.                           party from time to time.
 to the Hotelier and the terms of this Agreement and in accordance with          4.4 The Hotelier may not make any additional charge to the Operator or        13.2 A notice sent by fax shall be deemed to be received upon the
 the Brochure description of the Accommodation.                                  the Client for the provision of facilities to Client’s with disabilities.     sender’s receipt of a valid fax confirmation. A notice sent by airmail shall
 3.2 At least once annually, the Hotelier will check and sign-off upon the               Payment                                                               be deemed to be received seven (7) days after the day on which it was
 factual hotel information and digital assets, stored on the Operator's          5.1 The Hotelier shall invoice the Operator at the end of the Client’s stay   posted.
 Content Management System, which is used by the Operator for                    at the Accommodation and must comply with the following conditions:                  Termination
 publication in the Operator's brochures, the Operator's website and             (a) invoices should be sent electronically or posted to the Operator          14.1 This Agreement comes into force on the date signed. Either party
 related marketing communications.                                               clearly indicating the Client’s booking reference number;(b) invoices         may terminate this Agreement with immediate effect by written notice
 3.3 Unless expressly specified or agreed otherwise by the Operator in           must be exclusively for the Accommodation and/or Services requested           if: (a) the other ceases or threatens to cease trading, goes into
 writing, the Accommodation shall be in the main building.                       on the rooming list/voucher; and (c) the Accommodation and/or                 liquidation/ bankruptcy, has a receiver appointed or is subject to a
 3.4 If the Hotelier fails to provide the Clients with the reserved              Services must be invoiced at the agreed rates and in the agreed               winding up order other than one made solely for purposes of
 Accommodation for any reason, the Hotelier shall immediately notify             currency.                                                                     reconstruction or amalgamation, or any analogous situation to the
 the Operator.                                                                   5.2 Any charges incurred by the Operator in respect of providing              foregoing occurs in any jurisdiction,(b) the other commits any material
 3.5 Unless otherwise instructed by the Operator in writing, the Hotelier        payment to the Hotelier will be met by the Hotelier.                          breach of this Agreement and such breach is not remedied within 30
 shall arrange alternative accommodation for the Clients, which is               5.3 If the Clients incur any amounts not dealt with in this Agreement,        days of written notice from the other party specifying the breach and
 approved by the Operator as being in a similar or better location, of the       the Hotelier shall be solely responsible for receiving payment for such       the required remedy.
 same or higher standard and offering the same or better                         amounts directly from the Clients and the Operator shall have no              14.2 The Operator may terminate this Agreement with immediate effect
 facilities/amenities as the Hotel. The Hotelier shall ensure that the           liability whatsoever in respect of the same.                                  upon written notice if: (a) there is a change of ownership, management
 alternative accommodation is covered by the same insurance                      5.4 Subject to the Hotelier's fulfilment of clause 5.1, the Operator will     or control as set out in clause 10.1; or (b) the Operator reasonably
 requirements as set out in clause 7.                                            pay the invoices (less any deduction stated in this Agreement or as           concludes that the Hotel, Accommodation or Services fails to meet the
 3.6 Unless otherwise agreed in writing, the Hotelier:(a) will be fully          agreed between the parties) within 30 days of its receipt of the same.        Operator’s required quality or health and safety standards, even though
 responsible for the costs of providing the alternative accommodation            5.5 If the Operator disputes any portion of the Hotelier’s invoice, it may    the Hotel, Accommodation or Services was previously found to have
 and all associated costs (including travel costs); and (b) will pay the         withhold payment in respect of such disputed amount until such dispute        satisfied the criteria set out in any Health and Safety audit forms. In
 Operator £150 GBP for each Client who is placed in alternative                  has been resolved.                                                            these circumstances the Operator may remove the Clients from the
 accommodation due to overbooking, such sums to be deducted from                 5.6 The Operator will not be liable for any un-used accommodation or          Accommodation and shall have no liability to pay the Hotelier for the
 invoices submitted by the Hotelier to the Operator for the                      service costs not utilised by the Client for any reasons.                     remaining days the Clients were due to stay; (c) it considers the
 Accommodation and Services or, if the Operator so directs, to be paid           5.7 The Operator shall be entitled to set-off any amount due and              continuance of this Agreement inappropriate for commercial reasons.
 immediately by the Hotelier to the Client(s). The parties recognise that        payable to it from and against amounts held to the credit of the Hotelier     14.3 Termination will be without prejudice to any rights which may have
 this sum represents a genuine pre-estimate of the Operator's loss.              on any account whatsoever whether under this Agreement or                     accrued to either party before the effective date of termination or any
 3.7 The Hotelier will inform the Operator in writing immediately on             otherwise. This is without prejudice to any other rights or remedies          terms of this Agreement which are expressed to be continuing in nature.
 becoming aware of any actual or proposed building, maintenance work             available to the Operator under this Agreement or otherwise.                  The Hotelier will repay to the Operator all deposits or other sums pre-
 or other activity in the Hotel, its surroundings or local area which may                Force Majeure                                                         paid to the Hotelier for the Accommodation and/or Services not yet
 adversely affect the Clients’ enjoyment of their holiday. If the Operator       The Operator is not responsible for unfulfilled accommodation, services       provided to the Operator's Clients at the date of termination.
 reasonably believes such work or activity might adversely affect the            or contractual obligations that result from Force Majeure or                         Warranties
 Client's enjoyment of their holiday, the Operator may (at its sole option)      circumstances beyond control of the Operator. Such occurrences                The Hotelier hereby warrants and represents that: (a) it has the power
 suspend or terminate this Agreement with immediate effect. Where the            include cases of war, insurrection, acts of terrorism, political upheaval,    and authority to enter into this Agreement and to perform its
 Hotelier has failed to give the Operator reasonable advance notice of           labour disputes, strikes, laws or regulations, boycotts, epidemics,           obligations hereunder; (b) it has not entered and during the term will
 any work or other activity which is or will be undertaken by the Hotelier       contagious diseases or other circumstances of whatever kind or nature         not enter into any agreement with any third party, the terms of which
 (or on its behalf), or if this notification falls within 75 days prior to the   that unfavourably affect the Operator’s operation to the                      conflict with the terms of this Agreement; (c)there is no pending or, to
 Client’s arrival, the Hotelier will indemnify the Operator in full for all      Accommodation.                                                                its knowledge, threatened actions of proceedings before any court or
 costs, losses or expenses whatsoever it incurs as a result of such work                 Insurance                                                             administrative agency or arbitrator that would adversely affect its ability
 or activity (including without limitation compensation payments to the          7.1 The Hotelier shall, at their own expense, be in possession of suitable    to perform its obligations under this Agreement; and (d) it has, and shall
 Clients).                                                                       insurance that is satisfactory to the Operator covering the Hotelier’s        maintain throughout the term this Agreement, all licences, certificates,
 3.8 The Hotelier will ensure that unnecessary restrictions that limit sales     liabilities detailed herein. In addition, the Hotelier shall require any of   permits and consents necessary to enter into and perform its obligations
 or restrict the use of room allotments are not placed upon the Operator.        its sub-contractors to possess the specified insurances. The Hotelier's       under this Agreement.
 No more than four “stop-sales” notifications will be placed upon the            insurance shall include, but not be limited to, full rights of subrogation           Ethical Business
 Operator per calendar year. Each “stop-sales" occurrence will not               together with the types and amounts set out below: (a) Third Party            In accordance with Operator’s commitment to sustainable and ethical
 exceed more than five (5) consecutive nights. If the Hotelier exercises a       Liability Insurance, including Product Liability insurance with a             business practices Hotelier warrants and represents that it shall be
 “stop-sale” then the Hotelier will guarantee to honour all of the               combined personal injury and property damage limit of not less than           bound by the Responsible Supplier Policy which is provided under
 Operators reservations that have been made a Client of the Operator             £5,000,000 GBP or local currency equivalent or such other sum as may          separate addendum and which may be varied from time to time.
 prior to the “stop-sale” notice being received.                                 be specified by the Operator per occurrence or series of occurrences                 General
 3.9 The Hotel, the Accommodation, the Services, the Hotelier, its               arising from one event, (b) Employers Liability/Workers Compensation          17.1 No amendment of this Agreement shall be effective unless in
 employees, agents and subcontractors shall at all times comply fully            Insurance with limits as required by local law. Such insurance shall cover    writing and signed by a duly authorised representative of each party.
 with all applicable international, national and local laws, decrees,            all employees involved in the delivery of the contractual obligations.        There will be no waiver of any term, provision or condition of this
 regulations, licensing and certification requirements, recommendations          7.2 The Hotelier agrees to produce the insurance policy and any cover         Agreement unless such waiver is evidenced in writing. No omission or
 and codes of practice.                                                          note at the request of the Operator including requested evidence that         delay by either party in exercising any of its rights will be treated as a
 3.10 The Hotelier shall cooperate fully with the Operator's quality             the premium has been fully paid or complied with and that the policy or       waiver thereof, nor will any single or partial exercise of right preclude
 control and health and safety procedures, including (without limitation):       cover note Is in full force and effect.                                       any other or further exercise thereof or any exercise of any other right.
 (a) assisting in the completion of and signing the Operator's contractor’s      7.3 If, in the reasonable opinion of the Operator, the policy or cover note   A waiver of a right on one occasion will not constitute a waiver of such
 checklist; (b) permitting the Operator's employees/agents or safety             is inadequate for the purposes detailed, the Operator may require the         right in the future. If any provision in this Agreement is unenforceable
 consultant to inspect the Accommodation and Services at any time,               Hotelier to increase the amount or extent of the cover. If the Hotelier       the remaining provisions shall be unaffected.
 assisting such person to complete the Operator's Health & Safety audit          fails or refuses to do so within such a period as specified by the Operator   17.2 This Agreement constitutes the entire agreement and supersedes
 forms, and signing such forms.                                                  (no less than 7 days) then the Operator may terminate this Agreement          all previous understandings or arrangements between the parties
 3.11 The contents of the Health & Safety forms referred to in clause            with immediate effect upon written notice.                                    relating to the subject matter. No party has relied upon any
 3.10(b) above are incorporated as conditions of this Agreement and the                  Indemnities                                                           representation or promise except as expressly set out in this Agreement,
 Hotelier undertakes that it will: (a) not permit any changes to be made         The Hotelier indemnifies and holds harmless the Operator from and             save that nothing in this clause shall excuse either party from fraudulent
 to the Accommodation or the Services; and (b) notify the Operator in            against all and any loss, damage, personal Injury (including death),          misrepresentation.
 writing immediately if it becomes aware of any actual or potential              claims, demands, proceedings, costs and expenses (including without           17.3 Nothing in this Agreement shall be construed to create between
 change in the Accommodation or Services which would or might render             limitation legal fees and expenses on a full indemnity basis) out of or in    the parties a partnership, joint venture, franchise or agency.
 any information in any of the Health & Safety audit forms inaccurate,           connection with the performance of the contract to include but not                   Governing Law and Jurisdiction
 incomplete or misleading.                                                       limited to the Hotelier’s negligence, breach of statutory provision, wilful   This Agreement shall be governed and construed in English law. Save
 3.12 Accommodation must not have internal gas water heaters or fossil           misconduct, or breach of any provision under this agreement by the            where either party is seeking emergency equitable against the other,
 fuel appliances (including gas water heaters) or flues/exhausts which           Hotelier, its employees, agents or sub-contractors.                           the courts of England shall have exclusive jurisdiction.
 terminate within three metres of guest accommodation openings,                          Assignment
 including windows, doors, etc. Current or newly installed fossil fuel           The Hotelier shall not assign its rights nor subcontract its obligations
 (including gas water heaters, boilers etc) appliances must fully comply         under this Agreement except with the prior written consent of the
 with applicable international, national and local laws and regulations          Operator.
 and be installed in accordance with manufacturer’s instructions,                        Disposal of Hotel
 including appropriate flue, ventilation and maintenance.                        The Hotelier shall give the Operator maximum possible written advance
 3.13 All guest rooms must have a means of communication to a 24-hour            notice of any sale, lease or change of management of the Hotel or any
 point of contact and a minimum of two staff members (one being                  change of control of the business carried on therein. If the Operator
 security staff) present at night to respond to emergencies.                     elects to continue with this Agreement, the Hotelier guarantees that the
 3.14 Where the Hotelier is responsible for any form of transportation of        incoming owner/leaseholder/manager will fully comply with the terms
 Clients the vehicles must be clean, fully licensed and insured for all risks,   herein. The outgoing Hotelier will be jointly and severally liable for the
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                                                                       Client Complaint Protocol




 The aim of this Protocol is to ensure a proper channel of communication between both parties maximising co-operation and agreement in
 respect of the operation of the indemnity provision, which is provided under section 8, of the provision of services agreement.

 Procedure

 Upon the Operator/Agent or the Hotelier becoming aware of any incident, actual or threatened complaint or proceedings brought by any
 Operator’s Client in anyway connected with the supply of services under the contract, the parties shall provide to each other full details as
 may be reasonably possible in the circumstances in order to allow the proper investigations into any such incident, complaint or proceedings.

 The Hotelier shall respond fully to any request from the Operator or agents within 7 days with sufficient information so that the Operator or
 agent is able to properly and fully respond to the complaint or proceedings;

 In the case of major incidents set out below the Hotelier must provide immediate notification. A major incident is defined as any incident
 affecting two or more of the Operator’s Clients requiring hospitalisation, or one or more of the following;

       o   A Health & Safety related fatality (not deaths from natural causes e.g. heart attacks etc.)
       o   Fall from Balcony
       o   Fire
       o   Excursion Incident
       o   Illness Outbreak (5 or more guests affected)
       o   Road Traffic Accident requiring hospitalisation
       o   Robbery using threat/violence
       o   Sexual Assault/Rape
       o   Swimming Incident (e.g. drowning or near-drowning)


 The Operator/Agent and Hotelier will deal with all requests for further information within a reasonable timescale not exceeding 14 days.

 Co-Operation

 The Hotelier shall use all reasonable endeavours to assist, co-operate with and follow any reasonable instruction from the Operator or
 agents in relation to any claims or complaints including (but not limited) protecting and/or defending the rights of the Operator against any
 third party. Such co-operation to include (but not limited) to;

 Supporting the Operator or Agents in the conduct of any proceedings (whether instigated or proposed) in relation to any such claims or
 complaints;

 Carrying out an internal investigation within a reasonable timescale (having regard to the nature of the claim) and assisting in the gathering
 of information including the provision of witness statements and supply of documentation as may be requested.

 Indemnity Provision


 If the Operator or their Agents when acting reasonably is satisfied that they are unable to defend the claim or complaint the Hotelier agrees
 to indemnify the Operator. In cases where the Operator or their Agents decide to settle an Operator’s Client complaint for any reasons
 unconnected with the availability of a suitable defence for example, but not limited to, good Operator’s Client relations, the Hotelier will not
 be expected to afford an indemnity to the Operator.

 In cases where the Hotelier does not agree with the decision by the Operator or their Agents to settle the claim the Hotelier will within 14
 days provide full written submissions of why they disagree with the decision that has been taken by the Operator or their Agents. Upon
 further consideration by the Operator or their Agents and if they consider that the matter is still to be settled the Hotelier can chose to:

 (a) Take over the handling of the case and provide the Operator with an indemnity against costs and damages; but only upon satisfying
     the Operator that an English legal compliant claims handling system is in place and that no steps are taken which in the Operators view
     could harm the Operator’s reputation. Furthermore keep the Operator informed of all major developments with the Operator’s Client
     complaint and copy the Operator in on all substantive correspondence and documentation.
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 (b) Allow the Operator to maintain handling of the case using their best endeavours to defend the matter should proceedings be served,
     and provide the Operator with a full indemnity if the defence is unsuccessful.

 In cases where the Hotelier accepts that there is no defence to the claim or complaint the claim will continue to be handled by the Operator
 or their agents in accordance with the Package Travel Regulations.

 In cases where the Hotelier does not accept the amount of settlement agreed between the Operator, their Agents and their Operator’s
 Clients the matter will be referred to an agreed single adjudicator. If the adjudicator agrees that the amount paid exceeds what would be
 considered a reasonable settlement then the Operator agrees that the limit of indemnity sought will be in accordance with the decision of
 the independent adjudicator. The costs of the adjudication are to be borne equally between the parties.

 Such adjudication process shall be subject to English law and jurisdiction as more particularly set out under clause 17 of the terms and
 conditions of the contract.

 In cases where the Hotelier fails to respond to the Operator or their Agents in respect of an Operator’s Client complaint the Hotelier has 3
 opportunities to respond substantively failing which the Operator will deduce the claim costs from any outstanding sums owed by the
 Operator to the Hotelier.

 The Operator or their Agents shall write initially to the Hotelier upon notification of a complaint by email giving the Hotelier 7 days to respond.
 If no response is received within that timescale a 2 nd letter will be sent allowing a further period of 3 days for a response. If no response is
 received to that letter then a 3rd letter will be sent confirming the deduction from any monies either currently outstanding or to be deducted
 from future rendered invoices.

 In the case of any incident relating to the above immediate contact should be made with:-

 Duty Office                           Email:
                                       Tel:
                                       Alternative Tel:   +

 For further information or any questions relating to this Client Complaint Protocol should be directed to:-

 Ms. Romana Sztyber                    Email:
 Legal Services Manager                Tel:




 Pursuant to the indemnity provision the parties agree to be bound by the protocol which may be varied from time to time by consent between
 the parties.




  For Virgin Holidays Ltd                                  For (Hotel Name)




  Name:                                                    Name:

  Title:                                                   Title:

  Date:                                                    Date:
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Certificate Of Completion
Envelope Id: 819A4E25484F4AF09177375FC8158771                                                     Status: Completed
Subject: Please DocuSign: MCO Orlando Select Villas by Contempo 201901-202012_201902 v3.pdf, VHols Hotel...
Source Envelope:
Document Pages: 12                               Signatures: 2                                    Envelope Originator:
Certificate Pages: 2                             Initials: 4                                      Fiona Lewry
AutoNav: Enabled                                                                                  The Galleria Station Road
EnvelopeId Stamping: Enabled                                                                      Crawley, P6 RH10 1WW
Time Zone: (UTC) Dublin, Edinburgh, Lisbon, London
                                                                                                  IP Address:

Record Tracking
Status: Original                                 Holder: Fiona Lewry                              Location: DocuSign
        4/29/2019 11:13:43 AM                              f

Signer Events                                    Signature                                        Timestamp
James Killick                                                                                     Sent: 4/29/2019 11:28:47 AM
                                                                                                  Viewed: 4/29/2019 11:49:55 AM
Destination Manager - Florida                                                                     Signed: 4/29/2019 11:50:01 AM
Virgin Holidays
                                                 Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication
(None)                                           Using IP Address:


Electronic Record and Signature Disclosure:
   Not Offered via DocuSign

Sam Longster                                                                                      Sent: 4/29/2019 11:50:02 AM
                                                                                                  Viewed: 5/6/2019 7:18:57 PM
VP Business Development                                                                           Signed: 5/24/2019 8:42:58 PM
Sam Longster
                                                 Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication
(None)                                           Using IP Address:


Electronic Record and Signature Disclosure:
   Not Offered via DocuSign


In Person Signer Events                          Signature                                        Timestamp

Editor Delivery Events                           Status                                           Timestamp

Agent Delivery Events                            Status                                           Timestamp

Intermediary Delivery Events                     Status                                           Timestamp

Certified Delivery Events                        Status                                           Timestamp

Carbon Copy Events                               Status                                           Timestamp

Witness Events                                   Signature                                        Timestamp

Notary Events                                    Signature                                        Timestamp

Envelope Summary Events                          Status                                           Timestamps
Envelope Sent                                    Hashed/Encrypted                                 4/29/2019 11:50:02 AM
Certified Delivered                              Security Checked                                 5/6/2019 7:18:57 PM
Signing Complete                                 Security Checked                                 5/24/2019 8:42:58 PM
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Envelope Summary Events       Status                                  Timestamps
Completed                     Security Checked                        5/24/2019 8:42:58 PM

Payment Events                Status                                  Timestamps
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 CFH Ref   Vhols Ref   Guest Name                 Arrival Date Departure Date    Property Name                         Total
18355826   5437829     Aaron V3th Fearn             7/31/2019        8/21/2019   Item: Food Pack - Executive VCON       $ 95.00
18516465   5885659     Amanda v4g Lowe              7/29/2019         8/5/2019   Item: Food Pack - Executive VCON       $ 95.00
18358009   5696453     Andrew V4s Tyler             7/19/2019         8/2/2019   Item: Food Pack - Executive VCON       $ 95.00
18357588   5678928     Andrew V4shire Insole          7/5/2019       7/19/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18357588   5678928     Andrew V4shire Insole          7/5/2019       7/19/2019   Item: Food Pack - Basic VCON           $ 50.00
18346765   5459500     Anna V3s Deans               7/24/2019         8/7/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18341989   5745366     Barry V4g Christopher        7/28/2019        8/18/2019   Item: Food Pack - Luxury VCON          $ 80.00
18342964   5352182     Carol V4s Cornelius          7/30/2019         8/9/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18342964   5352182     Carol V4s Cornelius          7/30/2019         8/9/2019   Item: BBQ Grill Rental VCON            $ 78.60
18342964   5352182     Carol V4s Cornelius          7/30/2019         8/9/2019   Item: Cleaning Supplies Kit VCON       $ 27.00
18342964   5352182     Carol V4s Cornelius          7/30/2019         8/9/2019   Item: Food Pack - Basic VCON           $ 50.00
18358753   5572972     Christine V5s Ward           7/12/2019        7/26/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18343260   5477450     David V5s Tucker             7/26/2019         8/9/2019   Item: BBQ Grill Rental VCON            $ 110.00
18343260   5477450     David V5s Tucker             7/26/2019         8/9/2019   Item: Food Pack - Executive VCON       $ 95.00
18343260   5477450     David V5s Tucker             7/26/2019         8/9/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18359547   5359417     Emily V3g Bruton             7/25/2019         8/8/2019   Item: Food Pack - Basic VCON           $ 50.00
18341197   5558238     Emma V3g--SP Logue           7/13/2019        7/28/2019   Item: BBQ Grill Rental VCON            $ 117.90
18342708   5811250     Graeme V4RW-SP Kidd          7/20/2019         8/3/2019   Item: BBQ Grill Rental VCON            $ 110.00
18341632   5569704     Gregg V3g Pearcey              7/7/2019       7/21/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18346516   5799608     Hayley V4g Thomas            7/22/2019        8/12/2019   Item: Food Pack - Executive VCON       $ 95.00
18346516   5799608     Hayley V4g Thomas            7/22/2019        8/12/2019   Item: Cleaning Supplies Kit VCON       $ 27.00
18357717   5519327     Ian V4g Scoggins             7/27/2019        8/10/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18358812   5464474     Ian V6cg Smith               7/12/2019         8/2/2019   Item: Cleaning Supplies Kit VCON       $ 27.00
18358812   5464474     Ian V6cg Smith               7/12/2019         8/2/2019   Item: Food Pack - Basic VCON           $ 50.00
18342491   5516873     Ivor V4s-Sp Woods            7/14/2019        7/15/2019   Item: Clean Fee VCON                   $ 100.00
18346705   5400854     James v3s Knowlton           7/27/2019        8/10/2019   Item: BBQ Grill Rental VCON            $ 78.60
18346705   5400854     James v3s Knowlton           7/27/2019        8/10/2019   Item: Food Pack - Basic VCON           $ 50.00
18341538   5517528     Janine V3g Hampson           7/13/2019        7/27/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18358646   5528017     Jenny V5shire Strickland     7/10/2019        7/25/2019   Item: BBQ Grill Rental VCON            $ 190.68
18341142   5569651     Jill V5hr Wight 1Of2           7/1/2019       7/15/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18346711   5492881     John V3s Gibson                7/2/2019        7/5/2019   Item: Upgrade Booking VCON             $ 300.00
18346244   5499695     Joseph V3g Wiggins           7/20/2019        8/10/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18356283   5657267     Julian V3g Watson            7/19/2019         8/2/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18358642   5570423     Julie V5shire Pardoe         7/28/2019        8/13/2019   Item: Wooden Crib Rental VCON          $ 125.76
18358642   5570423     Julie V5shire Pardoe         7/28/2019        8/13/2019   Item: BBQ Grill Rental VCON            $ 125.76
18341373   5615087     Julie V6hr Stears              7/8/2019        7/9/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18340298   5554104     Justine V5g Green            7/21/2019         8/6/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18343656   5759495     Kerry V4s Chadwick           7/20/2019        7/30/2019   Item: Wooden Crib Rental VCON          $ 78.60
18346687   5401837     Kevin V3s Hill               7/20/2019         8/3/2019   Item: Food Pack - Basic VCON           $ 50.00
18359018   5280874     Kirsty V7s Crashley          7/30/2019        8/20/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18343229   5781051     Kurt V4g Ure                 7/20/2019         8/3/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18346813   5563286     Leighanne V3s Elsagood       7/18/2019         8/1/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18358013   5728334     Matthew V4s Bell             7/24/2019         8/7/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18358176   5444578     Michael V5wh Bates           7/13/2019         8/3/2019   Item: Birthday Pack Girl VCON          $ 59.00
18341960   5725322     Milan V4g Mladenovic         7/27/2019        8/10/2019   Item: Food Pack - Luxury VCON          $ 80.00
18341098   5739815     Nolan V5s Clark              7/26/2019         8/7/2019   Item: BBQ Grill Rental VCON            $ 55.00
18346738   5468240     Pamela V3s Hamilton          7/13/2019        7/14/2019   Item: Upgrade Booking VCON             $ 145.00
18346893   5726909     Paul V3s Odell               7/10/2019        7/24/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18344165   4788838     Paul V3s Norrington          7/25/2019         8/8/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18344165   4788838     Paul V3s Norrington          7/25/2019         8/8/2019   Item: Cleaning Supplies Kit VCON       $ 27.00
18344165   4788838     Paul V3s Norrington          7/25/2019         8/8/2019   Item: Food Pack - Luxury VCON          $ 80.00
18344165   4788838     Paul V3s Norrington          7/25/2019         8/8/2019   Item: Mid Stay Clean 3B VCON           $ 85.00
18358156   5542925     Paula V4s Carr               7/20/2019        7/29/2019   Item: BBQ Grill Rental VCON            $ 70.74
18358608   5739351     Rakesh V5wh Odedra           7/22/2019        7/29/2019   Item: BBQ Grill Rental VCON            $ 55.02
18342148   5838993     Richard V3th Wilkinson       7/28/2019        8/11/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18342148   5838993     Richard V3th Wilkinson       7/28/2019        8/11/2019   Item: Cleaning Supplies Kit VCON       $ 27.00
18341167   5569651     Rowan V5hr Hand 2Of2           7/1/2019       7/15/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18339939   5664426     Stephanie V6s Tibbert        7/10/2019        7/24/2019   Item: Wooden Crib Rental VCON          $ 110.00
18346999   5743592     Stephen V4SD Collins         7/28/2019        8/14/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18356860   5297056     Steven V4wh Gilham           7/25/2019         8/8/2019   Item: Food Pack - Basic VCON           $ 50.00
18356860   5297056     Steven V4wh Gilham           7/25/2019         8/8/2019   Item: Mid Stay Clean 4B VCON           $ 95.00
18346532   5334769     Stuart V3s Smith             7/11/2019        7/15/2019   Item: Accidental Damage Waiver VCON    $ 60.00
18358318   5544511     Timothy V5LP-SP Porter       7/29/2019        8/12/2019   Item: BBQ Grill Rental VCON            $ 110.00
18346063   5544826     Ursula V3s Johnson           7/31/2019        8/14/2019   Item: Food Pack - Executive VCON       $ 95.00
18345802   5274227     Wayne V3cp Davis             7/25/2019        8/15/2019   Item: Accidental Damage Waiver VCON    $ 60.00
                                                                                                                         4935.66
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                                      Departure
Vhols Ref   Booking ID   Arrival Date Date          Guest Name          Description                            Price
5783993         18344230 8/31/2019       9/13/2019 Alexander Harmer     Item: VCON Food Pack - Basic                 50.00
5549951         18343997     8/5/2019    8/17/2019 Andrew Walsh         Item: VCON Food Pack - Luxury                80.00
5330000         18358745     8/5/2019    8/19/2019 Barrie Davies        Item: VCON BBQ Grill Rental                 110.00
5599727         18342874 8/31/2019       9/14/2019 Barry Verdon         Item: VCON Food Pack - Basic                 50.00
5421735         18356506 8/31/2019       9/13/2019 Caroll Dearden       Item: VCON Food Pack - Basic                 50.00
5454056         18357908     8/2/2019    8/23/2019 Claire Chalder       Item: VCON Birthday Pack Boy                 59.00
5454056         18357908     8/2/2019    8/23/2019 Claire Chalder       Item: VCON Food Pack - Luxury                80.00
5391048         18358771 8/13/2019       8/27/2019 Daniel Flatt         Item: VCON Cleaning Supplies Kit             27.00
5391048         18358771 8/13/2019       8/27/2019 Daniel Flatt         Item: VCON Accidental Damage Waiver          60.00
5391048         18358771 8/13/2019       8/27/2019 Daniel Flatt         Item: VCON Food Pack - Basic                 50.00
5551221         18356785 8/12/2019       8/27/2019 Daniel Thompson      Item: VCON Accidental Damage Waiver          60.00
5533004         18342659 8/31/2019       9/14/2019 Darren Evans         Item: VCON Food Pack - Basic                 50.00
5474546         18358711 8/15/2019       8/16/2019 David Young          Item: VCON Clean Fee                        105.00
5511657         18347147 8/10/2019       8/24/2019 Dianne Soane         Item: VCON BBQ Grill Rental                 110.00
5451958         18345401 8/19/2019         9/2/2019 Elizabeth Folly     Item: VCON Cleaning Supplies Kit             27.00
5451958         18345401 8/19/2019         9/2/2019 Elizabeth Folly     Item: VCON Food Pack - Executive             95.00
5443881         18346723     8/8/2019    8/19/2019 Gary Gleed           Item: VCON Food Pack - Luxury                80.00
5443881         18346723     8/8/2019    8/19/2019 Gary Gleed           Item: VCON BBQ Grill Rental                  55.00
5443881         18346723     8/8/2019    8/19/2019 Gary Gleed           Item: VCON Cleaning Supplies Kit             27.00
5634431         18357795     8/2/2019    8/16/2019 Glynn Roberts        Item: VCON BBQ Grill Rental                 110.00
5617211         18343234     8/3/2019    8/24/2019 Helen Longhurst      Item: VCON Food Pack - Luxury                80.00
5354558         18346664     8/9/2019    8/23/2019 Jayne Stackhouse     Item: VCON Food Pack - Basic                 50.00
5586237         18359604     8/6/2019    8/15/2019 Joanne Rankin        Item: VCON Accidental Damage Waiver          60.00
5722432         18342382 8/31/2019       9/14/2019 John Jenkins         Item: VCON Food Pack - Basic                 50.00
5762905         18346903 8/12/2019       8/26/2019 Jonathan Turrell     Item: VCON Food Pack - Executive             95.00
5693262         18341250 8/31/2019       9/14/2019 Jordan Warrior       Item: VCON Food Pack - Basic                 50.00
5713190         18339967 8/28/2019         9/4/2019 Julie Renshaw       Item: VCON Pool Heat                        245.00
5811897         18342105 8/23/2019         9/2/2019 Katherine Barrett   Item: VCON Pack and Play Crib Rental         57.10
5811897         18342105 8/23/2019         9/2/2019 Katherine Barrett   Item: VCON Food Pack - Basic                 50.00
5594093         18343012     8/2/2019    8/10/2019 Kathryn Philips      Item: VCON Mid Stay Clean 4B                 95.00
5297157         18357705     8/2/2019    8/23/2019 Kim Kyte             Item: VCON Mid Stay Clean 4B                 95.00
5416040         18346252 8/24/2019       9/21/2019 Kimberley White      Item: VCON Food Pack - Luxury                80.00
5365755         18344617     8/7/2019    8/21/2019 Lynn Cabanillas      Item: VCON Food Pack - Basic                 50.00
5340324         18340012 8/19/2019         9/2/2019 Michael King        Item: VCON Food Pack - Executive             95.00
5763925         18341771 8/31/2019         9/9/2019 Michael Bunce       Item: VCON Food Pack - Basic                 50.00
5340324         18340012 8/19/2019         9/2/2019 Michael King        Item: VCON Cleaning Supplies Kit             27.00
5535156         18358316     8/7/2019    8/21/2019 Michelle Mack        Item: VCON Food Pack - Basic                 50.00
5656732         18344532 8/31/2019       9/19/2019 Michelle Hillary     Item: VCON Food Pack - Basic                 50.00
5698250         18340107 8/15/2019       8/29/2019 Nicholas Metcalfe    Item: VCON BBQ Grill Rental                 110.00
5685959         18344859 8/31/2019       9/14/2019 Paul Larty           Item: VCON Food Pack - Basic                 50.00
5403171         18342155 8/31/2019       9/14/2019 Paul Manners         Item: VCON Food Pack - Basic                 50.00
5662913         18357138 8/17/2019       8/26/2019 Paul Williams        Item: VCON Accidental Damage Waiver          60.00
5323861         18339765 8/22/2019         9/5/2019 Rebecca Ashley      Item: VCON Accidental Damage Waiver          60.00
5323861         18339765 8/22/2019         9/5/2019 Rebecca Ashley      Item: VCON Cleaning Supplies Kit             27.00
5323861         18339765 8/22/2019         9/5/2019 Rebecca Ashley      Item: VCON Food Pack - Luxury                80.00
5683237         18358399     8/3/2019    8/17/2019 Richard Sevier       Item: VCON BBQ Grill Rental                 110.00
5571307         18358652 8/16/2019       8/30/2019 Robin Broad          Item: VCON Wooden Crib Rental               110.00
5571307         18358652 8/16/2019       8/30/2019 Robin Broad          Item: VCON Highchair Rental                  76.02
5621433         18357424 8/17/2019       8/24/2019 Ryan Longthorn       Item: VCON Food Pack - Executive             95.00
5621433         18357424 8/17/2019       8/24/2019 Ryan Longthorn       Item: VCON Birthday Pack Girl                59.00
5305809         18358791 8/23/2019         9/6/2019 Samantha Prothero   Item: VCON BBQ Grill Rental                 110.00
5429906         18344733     8/5/2019    8/16/2019 Samantha Thomas      Item: VCON Accidental Damage Waiver          60.00
5720890         18341647 8/31/2019         9/9/2019 Sarah Bunce         Item: VCON Food Pack - Basic                 50.00
5561555         18358003 8/13/2019       8/27/2019 Sarah Patch          Item: VCON Food Pack - Executive             95.00
5710607         18340002     8/3/2019    8/17/2019 Sharon Dunlap        Item: VCON Food Pack - Basic                 50.00
5732052         18355992 8/28/2019       9/11/2019 Shereen Woodgate     Item: VCON Accidental Damage Waiver          60.00
5874864         18454178 8/31/2019       9/14/2019 Stuart Chalmers      Item: VCON Food Pack - Basic                 50.00
5722552         18344228 8/16/2019       8/29/2019 Suzanne Stanyon      Item: VCON Food Pack - Luxury                80.00
5508607         18358648     8/7/2019    8/21/2019 Tara Grimshaw        Item: VCON Food Pack - Executive             95.00
5536432         18358959 8/14/2019       8/28/2019 Timothy Clapp        Item: VCON Wooden Crib Rental               110.00
5265383         18358957     8/7/2019    8/21/2019 Trevor Paterson      Item: VCON BBQ Grill Rental                 110.00
                                                                                                               $ 4,421.12
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                                      Departure
Vhols Ref   Booking ID   Arrival Date Date           Guest Name          Description                            Price
5311028     18357286      10/31/2019 11/14/2019      Charles Tufton      Item: VCON BBQ Grill Rental                   55.00
5311028     18357286      10/31/2019 11/14/2019      Charles Tufton      Item: VCON Pool Heat                         490.00
5429747     18339610      10/30/2019 11/13/2019      Chloe Young         Item: VCON Wooden Crib Rental                110.00
5429747     18339610      10/30/2019 11/13/2019      Chloe Young         Item: VCON Pool Heat                         490.00
5564730     18341460      10/30/2019 11/13/2019      Claire Fountain     Item: VCON Pool Heat                         490.00
5551082     18342846      10/14/2019 10/28/2019      Craig Lamplough     Item: VCON Pack and Play Crib Rental          80.00
5551082     18342846      10/14/2019 10/28/2019      Craig Lamplough     Item: VCON Pool Heat                         490.00
5525361     18342686      10/24/2019     11/7/2019   Craig Telling       Item: VCON Mid Stay Clean 3B                  85.00
5525361     18342686      10/24/2019     11/7/2019   Craig Telling       Item: VCON Food Pack - Basic                  50.00
5408432     18341751      10/23/2019     11/6/2019   Daniel Miller       Item: VCON Pool Heat                         490.00
5390126     18343332      10/18/2019     11/2/2019   Darren Woods        Item: VCON Pool Heat                         490.00
5536015     18347120       10/5/2019 10/19/2019      David Backus        Item: VCON Pool Heat                         490.00
5520660     18357443      10/19/2019 10/26/2019      Dean Chapman        Item: VCON Pool Heat                         245.00
5593083     18345787      10/27/2019     11/3/2019   Deborah Genc        Item: VCON Food Pack - Basic                  50.00
5660979     18343852       10/4/2019 10/18/2019      Derek Mcewan        Item: VCON Pool Heat                         490.00
5467120     18357274       10/4/2019 10/18/2019      Emily Pullinger     Item: VCON Pool Heat                         455.00
5672266     18357146      10/26/2019     11/9/2019   Francis Ducker      Item: VCON Pool Heat                         490.00
5902183     18653159       10/2/2019 10/11/2019      Gareth Evans        Item: VCON Accidental Damage Waiver           60.00
5356039     18342386      10/29/2019 11/14/2019      Gary Medcalf        Item: VCON Mid Stay Clean 4B                  95.00
5356039     18342386      10/29/2019 11/14/2019      Gary Medcalf        Item: VCON Accidental Damage Waiver           60.00
5356039     18342386      10/29/2019 11/14/2019      Gary Medcalf        Item: VCON Pool Heat                         490.00
5623536     18357160      10/19/2019 10/31/2019      Gordon Battye       Item: VCON BBQ Grill Rental                   94.29
5787828     18356440      10/12/2019 10/26/2019      Hayley Burton       Item: VCON Accidental Damage Waiver           60.00
5770502     19167659      10/16/2019 11/11/2019      Ian Atkinson        Item: VCON Pool Heat                         245.00
5362879     18358682      10/26/2019     11/9/2019   Jacqueline Hanks    Item: VCON Highchair Rental                   76.00
5504367     18345403      10/17/2019     11/9/2019   Jane Stott          Item: VCON Pool Heat                         805.00
5393425     18358146       10/2/2019 10/16/2019      Jasmina Pawlowski   Item: VCON Accidental Damage Waiver           60.00
5783760     18341003       10/5/2019 10/12/2019      Jayne Worsey        Item: VCON Pack and Play Crib Rental          40.00
5783760     18341003       10/5/2019 10/12/2019      Jayne Worsey        Item: VCON Highchair Rental                   38.00
5351256     18356442      10/21/2019     11/4/2019   John Gavin          Item: VCON Accidental Damage Waiver           60.00
5681063     18739681       10/5/2019 10/12/2019      Judy Chappell       Item: VCON Accidental Damage Waiver           60.00
5455290     18342789      10/26/2019 11/16/2019      Julie Grugan        Item: VCON Wooden Crib Rental                165.00
5483094     18344425      10/25/2019     11/8/2019   Julie Russell       Item: VCON Pool Heat                         490.00
5483094     18344425      10/25/2019     11/8/2019   Julie Russell       Item: VCON BBQ Grill Rental                  110.00
5344076     18342595      10/26/2019 11/11/2019      Karen Lawrence      Item: VCON Pool Heat                         560.00
5881140     18667048      10/26/2019     11/9/2019   Kathryn Fawcett     Item: VCON Wooden Crib Rental                110.00
5881140     18667048      10/26/2019     11/9/2019   Kathryn Fawcett     Item: VCON Pack and Play Crib Rental          80.00
5479931     18343452      10/26/2019     11/9/2019   Keith O'dwyer       Item: VCON Pool Heat                         490.00
5651825     18345580      10/23/2019 10/31/2019      Kelley Ormsby       Item: VCON Pool Heat                         245.00
5689276     18356468      10/27/2019 11/10/2019      Kelly Smith         Item: VCON Pool Heat                         490.00
5355834     18356801      10/20/2019     11/3/2019   Kerry Thomas        Item: VCON Accidental Damage Waiver           60.00
5355834     18356801      10/20/2019     11/3/2019   Kerry Thomas        Item: VCON Food Pack - Luxury                 80.00
5370489     18357276      10/28/2019 11/11/2019      Kiera Huckerby      Item: VCON Pool Heat                         490.00
5960167     19049937      10/12/2019 10/19/2019      Linsey Hollidge     Item: VCON Pool Heat                         245.00
5567731     18358854      10/29/2019 11/12/2019      Lisa Noble          Item: VCON BBQ Grill Rental                  110.04
5623538     18355975      10/19/2019     11/1/2019   Lisa Rodgers        Item: VCON Accidental Damage Waiver           60.00
5965538     19052288      10/15/2019 10/29/2019      Lisa Bethell        Item: VCON Pool Heat                         490.00
5839243     18941058      10/29/2019 11/19/2019      Lisa Burton         Item: VCON Accidental Damage Waiver           60.00
5567731     18358854      10/29/2019 11/12/2019      Lisa Noble          Item: VCON Pack and Play Crib Rental          80.00
5567731     18358854      10/29/2019 11/12/2019      Lisa Noble          Item: VCON Highchair Rental                   76.02
5623538     18355975      10/19/2019     11/1/2019   Lisa Rodgers        Item: VCON Pool Heat                         455.00
5374088     18344423       10/3/2019     10/8/2019   Mark Rawthorn       Item: VCON Food Pack - Executive              95.00
5485592     18341812      10/20/2019 11/10/2019      Martyn Gray         Item: VCON Pool Heat                         735.00
5521463     18341195      10/26/2019     11/9/2019   Matthew Fox         Item: VCON BBQ Grill Rental                  110.04
5521463     18341195      10/26/2019     11/9/2019   Matthew Fox         Item: VCON Pool Heat                         490.00
5826467     18339975      10/25/2019     11/3/2019   Michael Bottomley   Item: VCON Pool Heat                         315.00
5931199     18893527       10/7/2019     10/8/2019   Michael Bullock     Item: VCON Accidental Damage Waiver           60.00
5483784     18343594      10/30/2019 11/14/2019      Michelle Sage       Item: VCON Pool Heat                         455.00
5294328     18343122      10/24/2019     11/9/2019   Neil Marshall       Item: VCON Pool Heat                         560.00
5318614     18342310      10/17/2019     11/1/2019   Nicola Moles        Item: VCON Accidental Damage Waiver           60.00
5354747     18342812      10/28/2019 11/11/2019      Peter Smith         Item: VCON Accidental Damage Waiver           60.00
5596518     18343110      10/22/2019     11/5/2019   Philip Pascoe       Item: VCON Pool Heat                         490.00
5416184     18346177       10/3/2019 10/17/2019      Philip Walters      Item: VCON Pool Heat                         490.00
5416184     18346177       10/3/2019 10/17/2019      Philip Walters      Item: VCON Food Pack - Basic                  50.00
5416184     18346177       10/3/2019 10/17/2019      Philip Walters      Item: VCON Food Pack - Basic                  50.00
5416184     18346177       10/3/2019 10/17/2019      Philip Walters      Item: VCON Pack and Play Crib Rental          79.94
5526673     18358554       10/1/2019 10/15/2019      Rebecca Long        Item: VCON Pool Heat                         490.00
5891131     18573956      10/31/2019 11/13/2019      Richard Hailston    Item: VCON Pool Heat                         245.00
5722705     18342850      10/28/2019     11/7/2019   Rosalia Ferlita     Item: VCON BBQ Grill Rental                   78.57
5935874     18905397      10/11/2019 10/25/2019      Scott Robinson      Item: VCON Pool Heat                         490.00
5935874     18905397      10/11/2019 10/25/2019      Scott Robinson      Item: VCON Accidental Damage Waiver           60.00
5660588     18340619      10/26/2019     11/9/2019   Stephen Limm        Item: VCON Pool Heat                         490.00
5391276     18359403       10/7/2019 10/21/2019      Stephen Mcdonald    Item: VCON Pool Heat                         490.00
5724367     18357594      10/20/2019     11/3/2019   Stephen Seymour     Item: VCON Pool Heat                         490.00
5697594     18358941      10/12/2019 10/26/2019      Susan Sayer         Item: VCON Pool Heat                         490.00
5428727     18346116      10/28/2019 11/11/2019      Susan Padington     Item: VCON Pack and Play Crib Rental          80.00
5697594     18358941      10/12/2019 10/26/2019      Susan Sayer         Item: VCON BBQ Grill Rental                  110.00
5505696     18357621      10/26/2019     11/9/2019   Venner Raymond      Item: VCON Pool Heat                         420.00
5505696     18357621      10/26/2019     11/9/2019   Venner Raymond      Item: VCON Accidental Damage Waiver           60.00
5658995     18341935      10/31/2019 11/14/2019      Victoria Connolly   Item: VCON Wooden Crib Rental                110.00
                                                                                                                $ 20,932.90
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             Exhibit E
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                                      Departure
Vhols Ref   Booking ID   Arrival Date Date           Guest Name               Description                            Price
5883026      18514418      11/9/2019 11/23/2019      Alan Woodcock            Item: VCON Accidental Damage Waiver          60.00
5765641      18343968      11/9/2019 11/16/2019      David Plenderleith       Item: VCON Pool Heat                        245.00
5494064      18344208     11/14/2019 11/28/2019      Emily O'neill            Item: VCON Food Pack - Luxury                80.00
5494064      18344208     11/14/2019 11/28/2019      Emily O'neill            Item: VCON Cleaning Supplies Kit             27.00
5593055      18667183      11/9/2019 11/16/2019      Gareth Rees              Item: VCON Accidental Damage Waiver          60.00
5847371      18346921      11/7/2019 11/11/2019      Garry Waters             Item: VCON Clean Fee                         90.00
5847371      18346921      11/7/2019 11/11/2019      Garry Waters             Item: VCON Upgrade Booking                  125.00
5569194      18344379      11/2/2019 11/16/2019      Gayle Bayliss            Item: VCON Pack and Play Crib Rental         80.00
5569194      18344379      11/2/2019 11/16/2019      Gayle Bayliss            Item: VCON Accidental Damage Waiver          60.00
5337714      18358566      11/6/2019 11/20/2019      Jeanette Saunders        Item: VCON Accidental Damage Waiver          60.00
5879724      18470593     11/11/2019 11/13/2019      Julie Finnegan           Item: VCON Clean Fee                        100.00
5693192      18343173     11/16/2019     12/7/2019   Karen(Victoria) Knight   Item: VCON Accidental Damage Waiver          60.00
5660065      18358150      11/3/2019 11/17/2019      Kerry Martin             Item: VCON Food Pack - Basic                 50.00
5617533      18345441      11/2/2019 11/16/2019      Kim Goldfinch            Item: VCON Pool Heat                        245.00
5927320      18858484      11/9/2019 11/23/2019      Larissa Dean             Item: VCON Pack and Play Crib Rental         80.00
5927320      18858484      11/9/2019 11/23/2019      Larissa Dean             Item: VCON Highchair Rental                  76.00
5668365      18358884      11/3/2019 11/16/2019      Marian Bennett           Item: VCON Wooden Crib Rental               102.14
5655368      18340236     11/23/2019     12/7/2019   Mark La Vardera          Item: VCON Accidental Damage Waiver          60.00
5721134      18344318     11/18/2019 11/25/2019      Michelle Davis           Item: VCON Wooden Crib Rental                55.00
5721134      18344318     11/18/2019 11/25/2019      Michelle Davis           Item: VCON Cleaning Supplies Kit             27.00
5961844      19050635     11/28/2019     12/9/2019   Paul Foster              Item: VCON Pack and Play Crib Rental         62.86
5918837      18784900      11/1/2019 11/11/2019      Peter Macellaro          Item: VCON Late Check Out                    70.00
5672115      18344097     11/15/2019 11/29/2019      Robert Hammerton         Item: VCON Wooden Crib Rental               110.00
5672115      18344097     11/15/2019 11/29/2019      Robert Hammerton         Item: VCON Food Pack - Basic                 50.00
5672115      18344097     11/15/2019 11/29/2019      Robert Hammerton         Item: VCON Accidental Damage Waiver          60.00
5672115      18344097     11/15/2019 11/29/2019      Robert Hammerton         Item: VCON Cleaning Supplies Kit             27.00
5833840      18341735     11/30/2019 12/10/2019      Ryan Collings            Item: VCON Pool Heat                        350.00
5758658      18359461      11/4/2019 11/14/2019      Trinity Leigh            Item: VCON Accidental Damage Waiver          60.00
                                                                                                                     $ 2,532.00
